









DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00362-CR

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IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

THE
STATE OF TEXAS,&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COUNTY
COURT AT LAW OF

&nbsp;

CRAIG
EDEN CONNER,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

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MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The State, as appellant, has filed a motion to dismiss
this appeal.&nbsp; No decision having been
delivered by this Court, the motion is granted, and the appeal is dismissed in
accordance with Texas Rule of Appellate Procedure 42.2.

Opinion
delivered November 1, 2006.

Panel
consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO NOT PUBLISH)





